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 Attorney for Plaintiffs
 ME2 Productions, Inc., and
 Venice PI, LLC
                        UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

  ME2 Productions, Inc.,              )   Case No.: 1:17-cv-00320-JMS-RLP
  Venice PI, LLC, and                 )   (Copyright)
                                      )
                  Plaintiffs,         )   PLAINTIFFS’ MEMORANDUM IN
    vs.                               )   SUPPORT OF MOTION TO STRIKE
                                      )   PORTION OF DEFENDANTS’
  Dragon Media, Inc. d/b/a Dragon     )   OPPOSITION [DOC. #67];
  Box,                                )   CERTIFICATE OF SERVICE
  Paul Christoforo, and               )
  John Doe                            )
                                      )
                  Defendants.         )
                                      )

    PLAINTIFFS’ MOTION TO STRIKE PORTIONS OF DEFENDANTS’
 OPPOSITION TO PLAINTIFFS’ MOTION FOR LEAVE TO AMEND OR THE
          ENTIRE OPPOSITION [DOCS. ## 67, 67-1, 67-2, 67-3]




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 I.    BRIEF FACTUAL BACKGROUND

       The Plaintiffs filed a motion for leave to file a fourth amended complaint

 [Doc. #61]. The Defendants filed an opposition to Plaintiffs’ motion on March 26,

 2018 [Doc. # 67]. Plaintiffs seek to have either: (1) the entire opposition stricken;

 or (2) pgs. 2-5 of Defendants’ Opposition [Id.] and Exhibits A-B [Docs. # 67-1, 67-

 2, 67-3] stricken because these portions consist of statements that do not pertain, and

 are not necessary, to the issues that were in question.

 II.   LEGAL STANDARD

       Rule 12(f) of the Federal Rules of Civil Procedure provides that the “court

 may strike from a pleading an insufficient defense or any redundant, immaterial,

 impertinent, or scandalous matter.” Fed.R.Civ.P. 12(f). Although Rule 12(f) is

 applicable to pleadings, the Court can strike a party’s filings pursuant to the Court’s

 inherent powers. See, e.g., Ready Transp., Inc. v. AAR Mfg., Inc., 627 F.3d 402, 404

 (9th Cir. 2010). cf. Carrigan v. Cal. State Legislature, 263 F.2d 560, 564 (9th

 Cir.1959) (discussing an appellate court’s inherent power to strike briefs and

 pleadings “as either scandalous, impertinent, scurrilous, and/or without relevancy”).

       A matter will not be stricken from a pleading unless it is clear that it can have

 no possible bearing on the subject matter of the litigation. Wailua Assocs. v. Aetna

 Cas. & Sur. Co., 183 F.R.D. 550, 554 (D. Haw. 1998). A matter is “immaterial” if it


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 “has no essential or important relationship to the claim for relief or the defenses

 being pleaded.” Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir.1993), rev'd

 on other grounds ,510 U.S. 517, 114 S.Ct. 1023, 127 L.Ed.2d 455 (1994).

 Impertinent matter consists of statements that do not pertain, and are not necessary,

 to the issues in question. Wailua Assocs., 183 F.R.D. at 553 (noting that an allegation

 is impertinent when it is irrelevant). Thus, courts will generally grant a motion to

 strike only when the moving party has proved that the matter to be stricken could

 have no possible bearing on the subject matter of the litigation. See Cal. Dep’t of

 Toxic Substances Control v. Alco Pac., Inc., 217 F.Supp.2d 1028, 1033 (C.D. Cal.

 2002); LeDuc v. Ky. Cent. Life Ins. Co., 814 F.Supp. 820, 830 (N.D. Cal. 1992).

 III.   ARGUMENT

        Nearly half of the Defendants’ Opposition discusses First Plaintiff ME2’s

 efforts to enforce its Copyright in the First Work and news coverage regarding these

 efforts. These efforts and the news coverage have nothing to do with the issue of

 whether Plaintiffs should be granted leave to amend the complaint. The issue in

 question was whether leave to grant Plaintiffs’ request to submit the Fourth

 Amended Complaint was proper. Whether Plaintiffs allegedly use “the threat of

 litigation to demand settlements below the cost of a defense” [Doc. #67 at pg. 2] (an

 allegation which Plaintiffs of course deny) or local coverage of Plaintiff ME2’s

 efforts to enforce its Copyright in Hawaii [Id. at pgs. 3-5] have no bearing on this


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 issue. The enforcement of ME2’s copyright also has no bearing on Plaintiffs’

 allegations in the Third Amended Complaint – namely, the Defendants’ marketing

 of their Dragon Box as a device that can stream any movies, and whether such

 conduct amounts to inducement of Copyright Infringement.

       The exhibits referred to in the Opposition are falsely described in Defendants’

 Opposition [Doc. #67] and will thereby be prejudicial to Plaintiffs. Particularly,

 Defendants indirectly assert that Mr. Culpepper (Plaintiffs’ counsel) was quoted in

 local news coverage as stating, “Almost all of the Hawaii cases settled anonymously,

 through the bootleggers’ attorneys,” [Id. at 4] by including this statement and in the

 next sentence stating “Mr. Culpepper was further quoted…”. However, the news

 article itself never quotes Plaintiffs’ counsel as making this ‘bootleggers’ statement.

 [Doc. #67-2]. Rather, this assertion appears to be a conclusion made by the author

 of the article based upon her conversation with Mr. Bakke. [Id.] The final exhibit

 [Doc. #67-3] is a news article that tells the story of Mr. Harding. However, Mr.

 Harding is not a Defendant in the present case. Thus, the Plaintiffs’ will be

 prejudiced by these exhibits.

       The Defendants’ Opposition was nothing more than a naked attempt to admit

 irrelevant evidence which they believe to be prejudicial to Plaintiffs and would

 distract this Court.

 IV.   CONCLUSION


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       Therefore, because the discussion of Plaintiffs’ enforcement efforts and the

 related new coverage in Defendants’ opposition [Doc. #67] have no essential or

 important relationship to the issue of whether Plaintiff should be granted leave to

 file the Fourth Amended Complaint, either (1) the Defendants’ entire Opposition

 [Id.]; or (2) at least pgs. 2-4 of Defendants’ Opposition [Id.], the Declaration of

 Counsel [Doc. #67-1], and Exhibits A-B [Docs. ## 67-2, 67-3] should be stricken.

       DATED: Kailua-Kona, Hawaii, April 6, 2018.


                                CULPEPPER IP, PLLC


                                /s/ Kerry S. Culpepper
                                Kerry S. Culpepper

                                Attorney for Plaintiffs




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